Case 1:18-cr-00167-PLM ECF No. 1312-2, PagelD.14976 Filed 10/05/20 Page 1 of 6

Exiniow #*a

‘\ndegenden Sruky
Accesume \ed\er
Cos see. Creme In
- CossGorkess
Tertok encdacec\
Case 1:18-cr-00167-PLM ECF No. 1312-2, PagelD.14977 Filed 10/05/20 Page 2 of 6

INTERNATIONAL CHRISTIAN
COLLEGE and SEMINARY

o!egio Biblico Internacional y Seminario

 

 

June 26, 2020

Shamekia Liptrot #22181-040
FCI Alderson

PO Box A

Alderson, WV 24910-0990

Dear Shamekia,

On behalf of the entire staff, I want to congratulate you on your recent choice to attend
International Christian College and Seminary. Your success in our program is important to us
because we ate dedicated to ensuring that you fulfill God’s calling in your life.

You are now a member of an engaged academic community of learners and professionals, all who
are here to help you excel spiritually, academically, and professionally. What does this mean? It
means that spiritually, we are dedicated to your personal growth in Christ; academically, we will keep
you focused on your goals; and professionally, we will do all we can to ensure a smooth transition
from one aspect of your life to the next. You are not alone in this journey. Once the college has
received your down payment and your contract, you are considered an official seminary student and
may begin classes. As soon as the college receives your completed course assignments, your next
course assignment will be sent shortly thereafter. Your prison number is your student ID number.

ICCS is truly a special place, and we are so happy that you are now part of our exciting community
of learners. We will provide you the opportunity to take advantage of all ICCS has to offer. A
ptimary goal at ICCS is to help each student realize their dreams. Self-advocacy and self-
determination skills are critical to a successful experience for all college students. Our staff is
committed to working with you to help you attain your educational goals and to challenging you to
become all that God has called you to be.

If you find yourself unable to afford books or any appropriate course material, we will send you
questions on books from the Bible and/or you can send us a list of books you have access to from
your chapel library, psychology department, fellow inmates, and your intra-library loan program. If
you choose to borrow books from friends or check them out, please write me so I can approve the
substitutions. In your correspondence, please include titles, page numbers, and authors. You may
also contact Harvest Time Books Prison Ministry at P.O. Box.300, Altamont, TN 37301. This
ministry offers inmates “free”. books. Request the books Great Controversy and Acts of the
Apostles; these two books will be considered one course.

 

ye . . P.O. BOX 530212
Providing Educational Excellence Since 2007 DEBARY, FL 32753-0212
Website: btrr:/ /icescampus.ory

Emai: info@icescampus.org

Tel. No: 877.391.3741
INTERNATIONAL CHRISTIAN

COLLEGE AND SEMINARY

  
   

Colegio Biblico Internacional y Seminario

April 29, 2020

Ms. Shamekia Liptrot #22181-040
FCI Alderson

PO Box A

Alderson, WV 24940-0990

—~,

Greetings in the precious name of our Lord and Sevier Jesus Chris’ We are viessed to welcame you to our
family at International Christian College and Seminary. It will be our honor and privilege to serve and equip you
in your worthy pursuit of spiritual enlightenment and the acquisition of your theological degree. Our primary
objective is to provide you with a quality education white making it affordable for those with limited resources.

Like so many other servants of God, | have personally overcome many obstacles and heartaches along the
pathway that leads toward the glittering beacon of heavenly purpose. | understand what it is like to face
challenges when no one else will stand with you. | know that you have had similar challenges and trials, but be
of good courage. The Bible promises us that those who mourn now shall rejoice in the everlasting tomorrow of
God's love.

We are committed to walking alongside each of our students to further equip them in their divine mission. Many
of your fellow students lack the necessary funds to attend a larger seminary. Because of your desire to sincerely
pursue a degree in the study of God and His Word and the generosity He has bestow upon us, we are pleased
to extend an 85% scholarship ta you.

The following are the courses offered by ICCS and the corresponding fees (excluding the costs of textbooks).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CODE COURSE Credits | Price CODE COURSE Credits | Price
Introduction to the Old MC219 Congregational Leadership
OTS101 | testament 3.0 $474.84 Development 3.0 $474.84
NTS101 Peseuenae to the New 3.0 $474.84 ORLD130 | Leadership in Global Society 3.0 $474.84
estament
BLB101 | Biblical Interpretation I 3.0 $474.84 LDRS170 | Innovation & Leadership 3.0 | $474.84
Lh STS101 Systersatic Theology I 3.0 $474.84 LEA103 + Developing the Leader Within 3.0 $474.84
a SCTIO1 | Interpreting Sc-ieture I 3.0 $474.84 LEAI21 | Visionary Leadership 3.0 $474.84
a ~¢-~ LDRS105 Introduction to Leadership 3.0 $474.84 LEAII0 Apprenticed to Leadership 3.0 $474.84
| LDR101 Leadership Foundations | 3.0 $474.84 BUS120 | New Trends in Management 3.0 $474.84
* é “ CLED265 rie Personal Life of a 3.0 $474.84 CMN121_ | Christian Leadership and Service 3.0 $474.84
LDRS210 Self-Leadership DEL171 Church Leadership and

3.0 $474.84 Adininisration 3.0 $474.84
LDRS220 Leading Others 3.0 $474.84 LEA256 Issues in Christian Leadership 3.0 $474.84

TE Oo Tedd eremeee eee eet eer te teers eet eee er nee renee nt eee eee $9,497.00

Tuition: 85% Scholarship (offer good for 45 days from postmark date) .............. $8,072.00

Total: Associate’s Degree in Christian Leadership..................: cee eeeeeees $1,425.00

Should you choose to pursue your degree with ICCS, the first requirement is for you to send in your deposit of
$5.95 at the time of enrollment and then pay 110 easy installments of $12.95 a month.

& 877.391.3741 @ info@iccscampus.org S ICCSCampus.org & P.O. Box 530212, Debary, FL 32753-0212

=. Providing Educational Excellence Since 2007 7
wo emer Pept Settee

   

}

ys
Wt

Filed 10/05/20 Page:4:0f6":

4979 Fi

PSS RRO ga epee ps pt oe
i: Saar

-¢r-00167-PLM..EGF.No..1312-2, PagelD.1.

            

aS"
es

vo ee

OD TACK
sy

EL.

eee

Shamekia Liptrot

for completing, “Enhancing Your Vocabulary”, earning 3 credit hours. el

This certificate is

 

presented to |

hereby issued this 4" day of August 2020. e |

G. Riffe, Teacher, FPC Alderson

Perea pant taney yea Laney

 
 

 

 

Case 1:18-cr-00167-PLM ECF No. 1312-2, PagelD.14980 Filed 10/05/20 Page 5of 6

‘Gertifi cate of Sichtevement

‘Ohamokia Liptrot

has successfully completed the Sedult ‘Gontinuing Education class: “African
otmerican History conststin ug of 10 hours of training.

Shis certificate 1s hereby issued thts 1 gif day of August 2020

 

 

 

 

 

B. Conner, Instructor ibe Dickerson, Supervisor of Education
Case 1:18-cr-00167-PLM ECF No. 1312-2, PagelD.14981 Filed 10/05/20 Page 6 of 6

 

 

 

 

   

Certifying that
Shamekia Liptrot
has successfully completed
Born to Win
96% by correspondence

Grade

    
